                                                                   Case 8:16-bk-15157-CB    Doc 255 Filed 11/20/18 Entered 11/20/18 10:55:53    Desc
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                                                                    1 Jeffrey I. Golden, State Bar No. 133040
                                                                      jgolden@wgllp.com
                                                                    2 Beth E. Gaschen, State Bar No. 245894
                                                                      bgaschen@wgllp.com
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                                                                      rbeall@wgllp.com
                                                                    4 WEILAND GOLDEN GOODRICH LLP
                                                                      650 Town Center Drive, Suite 600
                                                                    5 Costa Mesa, California 92626
                                                                      Telephone 714-966-1000
                                                                    6 Facsimile      714-966-1002

                                                                    7 Attorneys for Chapter 7 Trustee
                                                                      Thomas H. Casey
                                                                    8

                                                                    9                        UNITED STATES BANKRUPTCY COURT
                                                                   10                         CENTRAL DISTRICT OF CALIFORNIA
                                                                   11                                   SANTA ANA DIVISION
Weiland Golden Goodrich LLP




                                                                   12 In re                                     Case No. 8:16-bk-15157-CB
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 MT. YOHAI, LLC, a Delaware limited        Chapter 7
                                                                      liability company,
                                                                   14                                           NOTICE OF MOTION AND MOTION OF
                                                                                              Debtor.           CHAPTER 7 TRUSTEE, THOMAS H.
                              Tel 714-966-1000




                                                                   15                                           CASEY, TO RECONSIDER ORDER
                                                                                                                APPROVING STIPULATION BETWEEN
                                                                   16                                           DEBTOR AND SECURED CREDITOR
                                                                                                                BOWERY INVESTMENT GROUP, INC.
                                                                   17                                           DBA BOWERY DESIGN AND
                                                                                                                DEVELOPMENT; MEMORANDUM OF
                                                                   18                                           POINTS AND AUTHORITIES; AND
                                                                                                                DECLARATION OF THOMAS H. CASEY
                                                                   19                                           IN SUPPORT
                                                                   20                                           DATE: December 11, 2018
                                                                                                                TIME: 2:30 p.m.
                                                                   21                                           PLACE: Courtroom 5D
                                                                                                                       411 West Fourth Street
                                                                   22                                                  Santa Ana, CA 92701

                                                                   23

                                                                   24
                                                                        TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY
                                                                   25
                                                                        JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE DEBTOR AND
                                                                   26
                                                                        DEBTOR’S COUNSEL, AND ALL PARTIES IN INTEREST:
                                                                   27

                                                                   28
                                                                        1194297.1                               1            MOTION FOR RECONSIDERATION
                                                                   Case 8:16-bk-15157-CB       Doc 255 Filed 11/20/18 Entered 11/20/18 10:55:53           Desc
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                                                                    1           PLEASE TAKE NOTICE that on December 11, 2018 at 2:30 p.m. in Courtroom 5D
                                                                    2 of the United States Bankruptcy Court located at 411 West Fourth Street, Santa Ana,

                                                                    3 California 92701, a hearing will be held on Thomas H. Casey's, the chapter 7 trustee (the

                                                                    4 “Trustee”) for the bankruptcy estate of Mt. Yohai, LLC (the “Debtor”) Motion to Reconsider

                                                                    5 the Order Approving Stipulation Between Debtor and Secured Creditor Bowery

                                                                    6 Investment Group, Inc. DBA Bowery Design and Development (the “Motion”). Said Motion

                                                                    7 is based upon the grounds set forth in the attached Motion.

                                                                    8           PLEASE TAKE FURTHER NOTICE that the hearing on this motion is being held
                                                                    9 on regular notice pursuant to Local Bankruptcy Rule 9013-1. If you wish to oppose this

                                                                   10 Motion, you must file a written response to this Motion with the Bankruptcy Court and

                                                                   11 serve a copy of it upon the Office of the United States Trustee, the Trustee and Trustee’s
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                                                                   12 attorney at the address set forth above no less than fourteen (14) days prior to the hearing
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 date. If you fail to file a written response to this Motion within such time period, the Court

                                                                   14 may treat such failure as a waiver of your right to oppose the Motion and may grant the
                              Tel 714-966-1000




                                                                   15 requested relief.

                                                                   16                                             Respectfully submitted,

                                                                   17 Dated: November 20, 2018                    WEILAND GOLDEN GOODRICH LLP

                                                                   18
                                                                                                                  By: /s/ Jeffrey I. Golden
                                                                   19                                                 JEFFREY I. GOLDEN
                                                                                                                      BETH E. GASCHEN
                                                                   20                                                 RYAN W. BEALL
                                                                                                                      Counsel for Chapter 7 Trustee
                                                                   21                                                 Thomas H. Casey

                                                                   22

                                                                   23

                                                                   24

                                                                   25

                                                                   26

                                                                   27

                                                                   28
                                                                        1194297.1                                     2              MOTION FOR RECONSIDERATION
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                                                                    1 I.          INTRODUCTION
                                                                    2             The Trustee moves this Court for reconsideration of the Order Approving

                                                                    3 Stipulation Between Debtor and Secured Creditor Bowery Investment Group, Inc. DBA

                                                                    4 Bowery Design and Development [Docket No. 121] (the "Order") entered on November 3,

                                                                    5 2017, which approved the stipulation entered into between the Debtor and Bowery

                                                                    6 Investment Group, Inc. dba Bowery Design & Development ("Bowery") [Docket No. 101]

                                                                    7 (the "Stipulation"). The Stipulation and Order provide that Bowery shall have an allowed

                                                                    8 secured claim in the amount of $522,000.00 as a result of its mechanics lien.

                                                                    9             This is not supported by the facts underlying the claim and state law. While

                                                                   10 Bowery filed a notice of mechanics lien claim, Bowery never commenced an action within

                                                                   11 90 days of filing the notice. Under the California Code of Civil Procedure, without
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                                                                   12 commencing such an action during this time frame, the notice of lien terminates and is
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                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 unenforceable. As such, there is no justification or legal reason for the Proof of Claim

                                                                   14 (defined below) to be allowed as a secured claim. The Stipulation cannot create such a
                              Tel 714-966-1000




                                                                   15 security interest and, thus, the Trustee respectfully requests the Court grant the Motion,

                                                                   16 reconsider the Order, and enter an order denying the Stipulation.

                                                                   17 II.         STATEMENT OF FACTS
                                                                   18             On December 21, 2016, the Debtor filed a voluntary petition for relief under

                                                                   19 Chapter 11 of the United States Bankruptcy Code. See Docket No. 1.1 The Debtor’s case

                                                                   20 was converted to one under Chapter 7 by order entered on March 21, 2018. See Docket

                                                                   21 No. 211. Thomas H. Casey was appointed the Chapter 7 trustee on March 28, 2018.

                                                                   22 See Docket No. 214.

                                                                   23             The Debtor’s sole asset is the real property located at 2521 Nottingham Avenue,

                                                                   24 Los Angeles, California 90027 (the “Property”), which the Debtor scheduled with a value

                                                                   25 of $6.5 million. The Debtor scheduled the following encumbrances against the Property:

                                                                   26
                                                                            1
                                                                                The Trustee requests the Court take judicial notice of its docket, the date of filing of pleadings on its
                                                                   27 docket and admissions of the Debtor in its schedules and related documents.

                                                                   28
                                                                        1194297.1                                                 3                  MOTION FOR RECONSIDERATION
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                                                                    1 (i) a first priority deed of trust held by Genesis Capital Master Fund II, LLC that secures a

                                                                    2 debt of approximately $809,108.80; (ii) a second priority deed of trust held by Kathleen

                                                                    3 Manafort that secures a debt approximately $748,000.00; (iii) property tax liens held by

                                                                    4 the Los Angeles County Tax Collector that secure tax obligations of approximately

                                                                    5 $12,535.27; and (iv) a lien in favor of Bowery in the amount of $522,000.00. See Docket

                                                                    6 No. 34.

                                                                    7            Bowery filed a proof of claim, no. 4-1, on June 21, 2017, asserting a $522,000.00

                                                                    8 mechanics claim secured on the Debtor's real property. On July 27, 2017, Bowery filed an

                                                                    9 amended proof of claim, no. 4-2, adding information regarding the amount of time spent

                                                                   10 doing work for each month since December, 2014 (the “Proof of Claim”). The Proof of

                                                                   11 Claim contains a copy of a recorded "Claim of Mechanics Lien" with a recording date of
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                                                                   12 August 26, 2016.
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13            On August 25, 2017, Bowery filed the Stipulation.2 The Stipulation states that the
                                                                   14 Debtor does not dispute the claim, and that Bowery has a fully secured claim against the
                              Tel 714-966-1000




                                                                   15 Property in the amount of $522,000.00. The Stipulation also states that it is without

                                                                   16 prejudice to the right of a subsequently appointed bankruptcy trustee to seek

                                                                   17 reconsideration of an order approving the Stipulation under Federal Rule of Bankruptcy

                                                                   18 Procedure ("FRBP") 3008 and 11 U.S.C. § 502(j).

                                                                   19 III.       THE COURT SHOULD RECONSIDER ITS APPROVAL OF THE STIPULATION
                                                                   20            AND THE ENTRY OF THE ORDER ALLOWING THE PROOF OF CLAIM
                                                                   21            A.     The Court Has Authority to Vacate an Order Approving Stipulation
                                                                   22            Reconsideration of the Order approving the Stipulation and allowing the Proof of

                                                                   23 Claim is appropriate under the circumstances of this case. FRBP 3008 states that a party

                                                                   24 in interest may move for reconsideration of an order allowing or disallowing a claim

                                                                   25

                                                                   26        2
                                                                            The Trustee has been informed that Bowery is a shareholder in Baylor Holdings, the parent company
                                                                      for the Debtor. Although the Trustee has yet to independently verify this information, for the purposes of full
                                                                   27 disclosure, the Trustee is including this potential link between Bowery and the Debtor.

                                                                   28
                                                                        1194297.1                                             4                 MOTION FOR RECONSIDERATION
                                                                   Case 8:16-bk-15157-CB        Doc 255 Filed 11/20/18 Entered 11/20/18 10:55:53             Desc
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                                                                    1 against the estate. Fed. R. Bankr. P. 3008. The Trustee is such a party in interest and

                                                                    2 the Order allows the Bowery claim. Similarly, § 502(j) states: "[a] claim that has been

                                                                    3 allowed or disallowed may be reconsidered for cause. A reconsidered claim may be

                                                                    4 allowed or disallowed according to the equities of the case. . ." 11 U.S.C. § 502(j). The

                                                                    5 Proof of Claim was allowed pursuant to the Stipulation and Order and as set forth below in

                                                                    6 detail, and there is cause for reconsideration. In addition, the Stipulation specifically

                                                                    7 states that it is "without prejudice to the right of a subsequently appointed bankruptcy

                                                                    8 trustee to seek reconsideration of an order approving this Stipulation under Rule 3008 of

                                                                    9 the Federal Rules of Bankruptcy Procedure and 11 U.S.C. § 502(j)."

                                                                   10           Bankruptcy courts, as courts of equity, have the power to reconsider, modify or

                                                                   11 vacate their previous orders as long as no intervening rights have become vested in
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                                                                   12 reliance on the orders. In re Lenox, 902 F.2d 737, 740-41 (9th Cir. 1990); citing
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                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Chinichian v. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986); Taylor

                                                                   14 v. Lake (In re CADA Invs., Inc.), 664 F.2d 1158, 1161 (9th Cir. 1981). As the Property has
                              Tel 714-966-1000




                                                                   15 not been sold, and Bowery has not received payment on its claim, there is no impediment

                                                                   16 to reconsideration. Seeking reconsideration at this time is also appropriate as there is no

                                                                   17 time limit for bringing a FRBP 3008 motion. In re Levoy, 182 B.R. 827, 832 (9th Cir. B.A.P.

                                                                   18 1995).

                                                                   19           B.     The Mechanic's Lien Was Not Perfected and Therefore the Bowery
                                                                   20                  Claim Is Not Secured
                                                                   21           Cause exists to reconsider the allowance of the Proof of Claim and approval of the

                                                                   22 Stipulation. The secured status of the Proof of Claim is based upon the fact that Bowery

                                                                   23 had recorded a claim of mechanics lien. The Stipulation allows the Proof of Claim in the

                                                                   24 amount of $522,000.00 as fully secured against the Property; however, Bowery legally

                                                                   25 does not hold a secured claim against the estate nor the Property because Bowery never

                                                                   26 perfected its mechanics lien pre-petition.

                                                                   27           A mechanic's lien is perfected by filing a claim of lien within certain time limitations

                                                                   28 and by meeting other statutory requirements. Shady Tree Farms, LLC v. Omni Financial,
                                                                        1194297.1                                       5               MOTION FOR RECONSIDERATION
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                                                                    1 LLC, 206 Cal.App.4th 131, 135 (2012). One of those statutory requirements is found in

                                                                    2 California Code of Civil Procedure § 8460(a) which states that "[t]he claimant shall

                                                                    3 commence an action to enforce a lien within 90 days after recordation of the claim of lien.

                                                                    4 If the claimant does not commence an action to enforce the lien within that time, the claim

                                                                    5 of lien expires and is unenforceable." Cal. Code Civ. P. § 8460(a). Therefore, at a

                                                                    6 minimum, for a mechanics lien to be perfected, a claim of lien must be recorded, and

                                                                    7 subsequently, within 90 days of recordation, an action must be commenced to enforce the

                                                                    8 lien.

                                                                    9           Attached to its Proof of Claim, Bowery provided a copy of a recorded "Claim of

                                                                   10 Mechanics Lien" with a recording date of August 26, 2016. In order to properly perfect the

                                                                   11 mechanics lien under Cal. Code Civ. Proc. § 8460(a), Bowery was required to commence
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                                                                   12 an action to enforce the lien within 90 days of recordation. Failure to do so results in the
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                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 claim of lien expiring and becoming unenforceable. At no point prior to the bankruptcy

                                                                   14 filing did Bowery commence an action to enforce the mechanics lien. Consequently, as
                              Tel 714-966-1000




                                                                   15 prescribed in Cal. Code Civ. Proc. § 8460(a), the lien expired and became unenforceable

                                                                   16 91 days after the recordation of the lien, or November 25, 2016. The Debtor commenced

                                                                   17 this case on December 21, 2016. Thus, as of the petition date, Bowery did not have a

                                                                   18 valid mechanics lien and no lien secured by the Property.

                                                                   19           Furthermore, a title search of the property does not reveal any mechanics lien

                                                                   20 recorded against the Property, which is a result of Bowery’s failure to properly perfect its

                                                                   21 mechanics lien. As there is no perfected mechanics lien on the Property, Bowery has no

                                                                   22 basis for asserting a secured claim.

                                                                   23           It was improper for the Stipulation to provide Bowery with an allowed secured claim

                                                                   24 based upon the mechanics lien. An allowed claim is only secured to the extent that it is

                                                                   25 secured by a lien on property in which the estate has an interest. 11 U.S.C. § 506(a)(1).

                                                                   26 Therefore, where the lien underlying an allowed claim has expired, the claim cannot be a

                                                                   27 secured claim under the unambiguous language of the Code. A subsequently-appointed

                                                                   28 trustee is not necessarily bound by the actions of a debtor, such as when the debtor acts
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                                                                    1 outside the confines of the bankruptcy laws. In re International Fibercom, Inc., 503 F.3d

                                                                    2 933, 944 (9th Cir. 2007); see also In re An-Tze Cheng, 308 B.R. 448 (9th Cir. B.A.P.

                                                                    3 2004). Improperly granting a creditor a secured claim through a stipulation is the type of

                                                                    4 action that falls outside the confines of the bankruptcy laws that specifically outline what is

                                                                    5 required for a claim to be deemed an allowed secured claim.

                                                                    6           Stipulations indicate agreement between the parties, however, the bankruptcy court

                                                                    7 in exercise of its equitable powers can set aside a stipulation entirely if the interests of

                                                                    8 justice so require and if the parties can be restored to the positions they occupied before

                                                                    9 they entered the stipulation. A & A Sign Co. v. Maughan, 419 F.2d 1152, 1155 (9th Cir.

                                                                   10 1969). To date, the Property has not been sold and Bowery has not been paid on its Proof

                                                                   11 of Claim. Therefore, it is simple to restore the parties to the positions they occupied before
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                                                                   12 the Stipulation. The Trustee is not, at this time, disputing that Bowery should have a claim
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 against the estate based upon work performed pre-petition, however, that claim amounts

                                                                   14 to a general unsecured claim against the Property. The Trustee is in process of selling the
                              Tel 714-966-1000




                                                                   15 Property and failure to reconsider the Stipulation would impermissibly grant a secured

                                                                   16 claim to a creditor with no valid, enforceable lien and would result in a significant windfall

                                                                   17 to Bowery at the cost of distribution to other unsecured creditors. Accordingly, the

                                                                   18 interests of justice clearly require a reconsideration of the Stipulation.

                                                                   19 //

                                                                   20 //

                                                                   21 //

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                                                                        1194297.1                                     7               MOTION FOR RECONSIDERATION
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                                                                    1 IV.       CONCLUSION
                                                                    2           WHEREFORE, the Trustee prays that the Court enter an order granting this Motion
                                                                    3 pursuant to Federal Rule of Bankruptcy Procedure 3008 and 11 U.S.C. § 502(j), and

                                                                    4 denying the Stipulation.

                                                                    5                                           Respectfully submitted,

                                                                    6 Dated: November 20, 2018                  WEILAND GOLDEN GOODRICH LLP

                                                                    7
                                                                                                                By: /s/ Jeffrey I. Golden
                                                                    8                                               JEFFREY I. GOLDEN
                                                                                                                    BETH E. GASCHEN
                                                                    9                                               RYAN W. BEALL
                                                                                                                    Counsel for Chapter 7 Trustee
                                                                   10                                               Thomas H. Casey

                                                                   11
Weiland Golden Goodrich LLP




                                                                   12
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13

                                                                   14
                              Tel 714-966-1000




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                                                                        1194297.1                                  8              MOTION FOR RECONSIDERATION
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                                                                    1                            DECLARATION OF THOMAS H. CASEY
                                                                    2

                                                                    3           I, Thomas H. Casey, declare as follows:

                                                                    4           1.    I am the Chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Mt.

                                                                    5 Yohai, LLC (the “Debtor”). I know each of the following facts to be true of my own

                                                                    6 personal knowledge, except as otherwise stated, and, if called as a witness, I could and

                                                                    7 would competently testify with respect thereto. I make this declaration in support of the

                                                                    8 Motion to Reconsider Order Approving Stipulation Between Debtor and Secured Creditor

                                                                    9 Bowery Investment Group, Inc. DBA Bowery Design and Development (the “Motion”).

                                                                   10 Any term not specifically defined herein shall have the meaning provided in the Motion.

                                                                   11           2.    According to the proceeding’s docket, on December 21, 2016, the Debtor
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                                                                   12 filed a voluntary petition for relief under chapter 11 of Title 11 of the United States
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Bankruptcy Code.

                                                                   14           3.    The docket further reflects that the Debtor’s case was converted to one
                              Tel 714-966-1000




                                                                   15 under Chapter 7 by order entered on March 21, 2018.

                                                                   16           4.    I was appointed the chapter 7 trustee on March 28, 2018.

                                                                   17           5.    Based upon my review of the Debtor's Schedules, the Debtor's sole asset

                                                                   18 available for the distribution to unsecured creditors is the Property.

                                                                   19           6.    Based upon my review of the Debtor's Schedules, among the liens on the

                                                                   20 Property, the Debtor scheduled a lien in favor of Bowery in the amount of $522,000.00.

                                                                   21           7.    Based upon my review of the docket, Bowery filed a proof of claim, No. 4-1,

                                                                   22 asserting a $522,000.00 mechanics lien secured on the Property and later filed an

                                                                   23 amended proof of claim, No. 4-2, asserting the same, a true and correct copy of which is

                                                                   24 attached hereto as Exhibit "1."

                                                                   25           8.    Based upon my review of the docket, on August 25, 2017, Bowery and the

                                                                   26 Debtor filed the Stipulation granting Bowery a secured claim against the estate and the

                                                                   27 Property. A true and correct copy of the Stipulation is attached hereto as Exhibit "2."

                                                                   28
                                                                        1194297.1                                     9               MOTION FOR RECONSIDERATION
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                  EXHIBIT 1 
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                                                                        14
  Fill in this information to identify the case:

  Debtor 1              MT YOHAI, LLC, a Delaware limited liability company
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________   District
                                          Central District      of __________
                                                           of California

  Case number            8:16-bk-15157 CB
                         ___________________________________________




 2IILFLDO)RUP 410
 Proof of Claim                                                                                                                                                      /1

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Bowery   Investment Group, Inc. dba Bowery Design & Development
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔ No
                                      
   acquired from
   someone else?                       Yes.     From whom?       ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Scott A. Kron, Esq., Kron & Card LLP
                                      _____________________________________________________                       Scott A. Kron, Esq., Kron & Card LLP
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     29222 Ranch Viejo Rd., Suite 114
                                      ______________________________________________________                      29222 Ranch Viejo Rd., Suite 114
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      San Juan Capistrano CA                  92675
                                      ______________________________________________________                       San Juan Capistrano CA                 92675
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   (949) 367-0520
                                                       ________________________                                   Contact phone   (949) 367-0520
                                                                                                                                   ________________________

                                      Contact email   scott@kronandcard.com
                                                       ________________________                                   Contact email   scott@kronandcard.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               No
   one already filed?                 ✔ Yes.
                                                                                                 4
                                                 Claim number on court claims registry (if known) ________                               Filed on    06/21/2017
                                                                                                                                                    ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔ No
                                      
   else has filed a proof              Yes.     Who made the earlier filing?         _____________________________
   of claim for this claim?




 Official Form 410                                                              Proof of Claim                                                              page 1

                                                                       EXHIBIT 1                  PAGE 11
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                                                                14


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                            522,000.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            ✔
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                  Design and Architectural Service
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes.
                                          The claim is secured by a lien on property.
                                           Nature of property:
                                           ✔ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                           
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:         _____________________________________________________________



                                           Basis for perfection:          Claim of Mechanics Lien
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                                 1,793,202.10
                                                                                         $__________________
                                           Amount of the claim that is secured:                 522,000.00
                                                                                         $__________________

                                                                                                0.00 (The sum of the secured and unsecured
                                           Amount of the claim that is unsecured: $__________________
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                         522,000.00
                                                                                                                              $____________________


                                                                                      10.00
                                           Annual Interest Rate (when case was filed)_______%
                                           ✔
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 2IILFLDO)RUP                                                   Proof of Claim                                                         page 2

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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check all that apply:                                                                                    Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
                                                                                                                                                                   0.00
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $2,5* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                                           0.00
                                                                                                                                                  $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                                    0.00
                                                                                                                                                  $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                                0.00
                                                                                                                                                  $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                                    0.00
                                                                                                                                                  $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/1 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    ✔
                                  I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date 07/27/2017
                                                   _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Scott                        A.                            Kron
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney for Creditor
                                                         _______________________________________________________________________________________________

                                  Company                Kron & Card LLP
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                29222 Rancho Viejo Rd., Suite 114
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         San Juan Capistrano                             CA           92675
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          (949) 367-0520
                                                         _____________________________                              Email         scott@kronandcard.com
                                                                                                                                  ____________________________________




 2IILFLDO)RUP                                                           Proof of Claim                                                                page 3

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             Case 8:16-bk-15157-CB                    Claim2521
                                                            4-2Nottingham
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                                                                          Ave Los Angeles Main Document                                     Page 6 of
                                                              September 14
                                                                        2014 to July 2016
            Task                                                       Principal          Senior Architect   Junior Architect#1   Junior Architect#2        All
            Code                  Task

                                         $ Rate:                                   225                125                 66.5                    58

                                                                                                                   HOURS

Schematic Design

        14-Q4         September - December 2014                                88.5                    45                   70                 102             305.5
        15-Q1         January - March 2015                                      75                     14                 230                374.25           693.25
        15-Q2         April - June 2015                                         13                      5                   27                   16               61
        15-Q3         July - September 2015                                     11                  16.25                19.25                  9.5               56
        15-Q4         October - December 2015                                     3                    18                    4                    4               29
        16-Q1         January - March 2016                                        0                     0                    0                    0                0
        16-Q2         April - May 2016                                            0                     0                    0                    0                0

                                                     TOTAL HOURS            190.5                  98.25                350.25               505.75         1144.75
                                                   TOTAL DOLLARS   $   42,862.50          $   12,281.25      $      23,291.63 $          29,333.50     $ 107,768.88

Design Development

        14-Q4         September - December 2014                                      0                  0                    0                    0                 0
        15-Q1         January - March 2015                                           0                  0                    0                    0                 0
        15-Q2         April - June 2015                                             26                 33                   20                  210               289
        15-Q3         July - September 2015                                         32                 75                  332                  486               925
        15-Q4         October - December 2015                                       13                  5                   65                   43               126
        16-Q1         January - March 2016                                          10                  0                   23                   15                48
        16-Q2         April - May 2016                                               2                  5                   11                   13                31

                                                     TOTAL HOURS               83                   118                   451                  767             1419
                                                   TOTAL DOLLARS   $   18,675.00          $   14,750.00      $      29,991.50 $          44,486.00     $ 107,902.50

Construction Documents

        14-Q4         September - December 2014                                      0                  0                    0                    0                 0
        15-Q1         January - March 2015                                           0                  0                    0                    0                 0
        15-Q2         April - June 2015                                             15                 51                  226                  354               646
        15-Q3         July - September 2015                                          9                 31                  164                  123               327
        15-Q4         October - December 2015                                       21                136                  265                  367               789
        16-Q1         January - March 2016                                          19                188                  331                  408               946
        16-Q2         April - May 2016                                              10                160                  286                  106               562
        16-Q3         July 2016                                                      4                 30                   26                   24                84

                                                     TOTAL HOURS               78                   596                  1298                 1382             3354
                                                   TOTAL DOLLARS   $   17,550.00          $   74,500.00      $      86,317.00 $          80,156.00     $ 258,523.00
Building Permits

        14-Q4         September - December 2014                                      0                  0                    0                     0                0
        15-Q1         January - March 2015                                           0                  0                    0                     0                0
        15-Q2         April - June 2015                                              0                  0                    0                     0                0
        15-Q3         July - September 2015                                          8                 48                   64                    36              156
        15-Q4         October - December 2015                                        6                 29                   43                    12               90
        16-Q1         January - March 2016                                           8                 15                   21                     9               53
        16-Q2         April - May 2016                                               3                 55                   31                    26              115
        16-Q3         July 2016                                                      0                 13                   12                    13               38

                                                     TOTAL HOURS                25                  160                   171                    96              452
                                                   TOTAL DOLLARS   $     5,625.00         $   20,000.00      $      11,371.50 $           5,568.00     $   42,564.50

Additional Services

        RENDERS       Hi Res Renders                                                 0                 15                   28                    26               69

                                                     TOTAL HOURS                     0                15                    28                   26                69
                                                   TOTAL DOLLARS   $           -          $    1,875.00      $       1,862.00 $           1,508.00     $    5,245.00



                                                     TOTAL HOURS            376.5                987.25              2298.25               2776.75          6438.75
                                                   TOTAL DOLLARS   $   84,712.50          $ 123,406.25       $    152,833.63 $          161,051.50     $ 522,003.88




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                                                Page 9 of
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                    Page 20 of 37




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                                              Main Document    Page 1 of 6
     1       D. EDWARD HAYS, #162507
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             870 Roosevelt Avenue
     4       Irvine, California 92620
             Telephone: (949) 333-7777
     5       Facsimile: (949) 333-7778

     6       Scott A. Kron, Esq. [State Bar No. 237769]
             KRON & CARD LLP
     7       29222 Rancho Viejo Rd., Suite 114
     8       San Juan Capistrano, CA 92675
             Telephone: (949) 367-0520
     9       Facsimile: (949) 613-8472
         1
             Email: scott@kronandcard.com
    10
             Attorneys for Bowery Investment Group, Inc.
    11       dba Bowery Design & Development

    12
                                               UNITED STATES BANKRUPTCY COURT
    13
                              CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION
    14

    15        In re                                                   Case No. 8:16-bk-15157-CB

    16        MT. YOHAI, LLC, a Delaware liability                    Chapter 11
              company,
    17                                                                STIPULATION BETWEEN DEBTOR AND
                                   Debtor and Debtor-in-              SECURED CREDITOR BOWERY
    18
              Possession.                                             INVESTMENT GROUP, INC. DBA
    19                                                                BOWERY DESIGN AND DEVELOPMENT

    20
                                                                      [No hearing required]
    21

    22
    23
             TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY
    24
             JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED
    25
             PARTIES:
    26
                       This Stipulation ("Stipulation") is entered into by and between secured creditor
    27
             BOWERY INVESTMENT GROUP, INC. DBA BOWERY DESIGN AND DEVELOPMENT
    28
             ("Bowery"), on the one hand; and MT. YOHAI, LLC ("Debtor"), on the other hand (collectively,

                                                                -1-
                                                            STIPULATION
             4R,,-Q711-74R1 vl /1,00-074


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       2

       3                A.        Prepetition, Bowery provided design and architectural services to Debtor for the

       4 real property commonly known as 2521 Nottingham Ave., Los Angeles, California 90027

       5   ("Property"). Bowery rendered the services described in attached Schedule "A" ("Work
       6   Product").

       7                B.        On August 26, 2016, Bowery recorded a claim of mechanics lien under California

       8   Civil Code        §   8400 et seq. in the sum of $522,000 for services provided. Said lien is a secured

       9   claim against the Property.

      10                C.        On December 21, 2016, Debtor filed a voluntary petition under Chapter 11 of

      11   Title   11    the United States Code.

      12                D.        In its Schedule D, Debtor listed Bowery as the holder of a secured claim against

      13   the Property in the amount of $522,000 ("Bowery Claim"). Debtor did not list the Bowery Claim

      14 as contingent, unliquidated, or disputed. As such, Bowery has an undisputed secured claim in the




      16                E.        On July 27, 2017, Bowery filed an amended secured proof of claim in the amount

      17   of $522,000 ("Bowery POC") with supporting documentation.

      18                F.        Debtor needs the Work Product to finalize the sale of the Property. Debtor does

      19 not dispute and agrees that Bowery has a fully secured claim against the Property in the amount

      20 of $522,000. Debtor further agrees that it will not object to the Bowery POC.

      21                WHEREFORE, the Parties stipulate as follows:

      22                1.        Bowery shall be deemed to have an allowed secured claim in the amount of

      23 $522,000 ("Allowed Claim"). The Allowed Claim is secured by the Property;

      24                2.         The Allowed Claim shall be paid in its entirety from the sale of the Property by

      25 escrow concurrently with the close of escrow. Debtor's obligation to pay the Allowed Claim may

      26 not be assumed, nor shall the Property be sold or transferred subject to the Allowed Claim;




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       1          3.        Title to the Property shall not transfer until the Allowed Claim is paid in its

       2 entirety.     If escrow closes before Court approval of this Stipulation Bowery will be paid
       3   $522,000 through escrow concurrent with closing.

       4          4.        A plan of reorganization may not be confirmed unless the Allowed Claim is paid

       5   in full as of the confirmation date;

       6          5.        The Work Product shall neither be turned over to Debtor nor made available for

       7   inspection by Debtor until this Stipulation is approved by the Court. Upon Court approval of this

       8   Stipulation, Bowery agrees to make the Work Product available for inspection at the offices of

       9 Kron & Card LLP. The Work Product shall be turned over to Debtor upon full payment                   of the




      13          7.        Unless and until the sale of the Property closes, and Bowery is paid the Allowed

      14 Claim through escrow, this Stipulation shall not abrogate       Bowery's rights with respect to Cal.

      15   Bus. & Prof. Code    §   5536.4 or the Copyright Act of 1976, nor shall this Stipulation convey any

      16 right, title, interest or license to   Bowery's instruments of service to the Debtor;

      17          8.        This Stipulation is without prejudice to the right of a subsequently appointed

      18   bankruptcy trustee to seek reconsideration of an order approving this Stipulation under Rule

      19 3008   of the Federal Rules of Bankruptcy Procedure and        11   U.S.C.     §   502(j); and

      20          9.        This Stipulation may be executed in one or more counterparts and facsimile or

      21 electronic signatures may be used in filing this document with the Court.

      22

      23    DATED: August 24 2017

      24                                                       By:
                                                                     TOM FANNING, as President of BOWERY
      25                                                             INVESTMENT GROUP, INC. DBA BOWE Y
                                                                     DESIGN AND DEVELOPMENT
      26
            DATED: August 23 , 2017
      27
                                                               By:
      28                                                             JEFF                   AI, as Managing Member of MT.
                                                                     Y        ,   LLC

                                                                3




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                 August 25, 2017                MARSHACK HAYS LLP

                                                By
                                                     RICHARD A. MARSHACK
                                                     CHAD V. HAES
                                                     Attorney for BOWERY INVESTMENT
                                                     GROUP, INC. DBA BOWERY DESIGN
                                                     AND DEVELOPMENT
                                                GOE & ORSY HE LLP


                                                By
                                                       ARC FOR YTHE
                                                     Attorney for btor,
                                                     MT. YOHAI, LLC




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN DEBTOR AND
SECURED CREDITOR BOWERY INVESTMENT GROUP, INC. DBA BOWERY DESIGN AND DEVELOPMENT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 25, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
     CREDITOR ROBERT L GERNER: Simon Aron saron@wrslawyers.com
     INTERESTED PARTY GENESIS CAPITAL, LLC: Jeffrey W Dulberg jdulberg@pszjlaw.com
     DEBTOR MT YOHAI, LLC, A DELAWARE LIMITED LIABILITY COMPANY: Marc C Forsythe
         kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
     CREDITOR COUNTY OF LOS ANGELES TREASURER AND TAX COLLECTOR: Richard Girgado
         rgirgado@counsel.lacounty.gov
     INTERESTED PARTY: Chad V Haes chaes@marshackhays.com, ecfmarshackhays@gmail.com
     U.S. TRUSTEE UNITED STATES TRUSTEE: Michael J Hauser michael.hauser@usdoj.gov
     CREDITOR BOWERY INVESTMENT GROUP, INC. DBA BOWERY DESIGN AND DEVELOPMENT: Scott A
         Kron scott@kronandcard.com
     INTERESTED PARTY: Richard A Marshack rmarshack@marshackhays.com,
         lbergini@marshackhays.com;ecfmarshackhays@gmail.com
     U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 25, 2017, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 25, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via Personal Delivery
PRESIDING JUDGE’S COPY
Bankruptcy Judge Catherine E. Bauer
United States Bankruptcy Court, Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
    August 25, 2017                          Chanel Mendoza                    /s/ Chanel Mendoza
  Date                     Printed Name                                        Signature

           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
4852-8013-8062, v. 1/1533-001
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        Case 8:16-bk-15157-CB                    Doc 101 Filed 08/25/17 Entered 08/25/17 15:17:01                                      Desc
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2. SERVED BY UNITED STATES MAIL:

Debtor                                             Creditor                                            Creditor
Mt Yohai, LLC, a Delaware Limited                  California TD Specialists                           Crest Real Estate, LLC
Liability Company                                  8190 East Kaiser Blvd                               11150 W. Olympic Blvd., Suite 700
3991 MacArthur Blvd., Suite 125                    Anaheim, CA 92808-2215                              Los Angeles, CA 90064-1825
Newport Beach, CA 92660

Creditor                                           Creditor                                            Creditor
Franchise Tax Board                                Genesis Capital Master Fund II, LLC                 Jessica Manafort
Bankruptcy Section MS A340                         Attn Lending Department                             703 Greenleaf
PO Box 2952                                        21650 Oxnard Street, Suite 1700                     Topanga, CA 90290
Sacramento CA 95812-2952                           Woodland Hills, CA 91367-5058

Creditor                                           Creditor                                            Creditor
Kathleen Manafort                                  PJNottingham, LLC                                   Paul Manafort
721 Fifth Avenue #43G                              c/o Wilson Keadjian Browndorf, LLP                  721 Fifth Avenue #43G
New York, NY 10022-2537                            1900 Main Street, Suite 610                         New York, NY 10022-2537
                                                   Irvine, CA 92614-7319

Creditor
Samara Engineering
9100 S Sepulveda Blvd., Suite 115
Los Angeles, CA 90045-4849




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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                  EXHIBIT 3 
     Case 8:16-bk-15157-CB           Doc 255 Filed 11/20/18 Entered 11/20/18 10:55:53                       Desc
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                                     Main Document Page 1 of 2


 1 D. Edward Hays, SBN 162507
   ehays@marshackhays.com
 2 Chad V. Haes, SBN 267221
   chaes@marshackhays.com                                                 FILED & ENTERED
 3 Marshack Hays LLP
   870 Roosevelt Avenue
 4 Irvine, California 92620                                                     NOV 03 2017
   Tel: 949-333-7777
 5 Fax: 949-333-7778                                                       CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
 6 Scott A. Kron, SBN 237769                                               BY firman     DEPUTY CLERK

   scott@kronandcard.com
 7 Kron & Card LLP
   29222 Rancho Viejo Rd., Suite 114                                CHANGES MADE BY COURT
 8 San Juan Capistrano, California 92675
   Tel: 949-367-0520
 9 Fax: 949-613-8472

10    Attorneys for Bowery Investment Group, Inc.
11                                  UNITED STATES BANKRUPTCY COURT
12                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
13     In re                                                Case No. 8:16-bk-15157-CB
14     MT. YOHAI, LLC, a Delaware liability                 Chapter 11
       company,
15                                                          ORDER APPROVING STIPULATION
                     Debtor and Debtor-in-Possession.       BETWEEN DEBTOR AND SECURED
16                                                          CREDITOR BOWERY INVESTMENT
                                                            GROUP, INC. DBA BOWERY DESIGN AND
17                                                          DEVELOPMENT
18                                                          Date:    October 4, 2017
                                                            Time:    10:00 a.m.
19                                                          Courtroom: 5D
                                                            Address:     411 W 4th St
20                                                                       Santa Ana, CA 92701
21
22             A hearing was held on October 4, 2017, at 10:00 a.m., before the Honorable Catherine E. Bauer,

23 United States Bankruptcy Judge for the Central District of California, in Courtroom 5D located at 411

24 West Fourth St., Santa Ana, CA, on the Stipulation between secured creditor Bowery Investment
25 Group, Inc. dba Bowery Design and Development and Mt. Yohai, LLC, filed August 25, 2017, as

26 Docket #101 (“Stipulation”). Appearances were made as noted on the record.
27             //

28             //




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1           The Court having read and considered the Stipulation, heard the statements of counsel, and
2 with good cause shown,
3           IT IS ORDERED:
4          1.) The Stipulation is approved as amended with the following language from the Genesis
5             Capital, LLC response filed as Docket #108: (1) nothing contained in the Stipulation alters
6             the rights of senior lienholders on the Property; and (2) no sale proceeds shall be allocated to
7             paying the Allowed Claim unless and until all allowed senior liens are satisfied in full, or the
8             holders of such senior liens otherwise consent.
9       Approved as to Form:
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         Date: November 3, 2017
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                                           EXHIBIT 3        PAGE 32
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Notice of Motion and Motion of Chapter 7 Trustee,
Thomas H. Casey, to Reconsider Order Approving Stipulation Between Debtor and Secured Creditor Bowery Investment
Group, Inc. dba Bowery Design and Development; Memorandum of Points and Authorities; and Declaration of Thomas H.
Casey in Support
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 20, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 20, 2018, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 20, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Personal Delivery
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/20/2018                     Victoria Rosales
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:16-bk-15157-CB                     Doc 255 Filed 11/20/18 Entered 11/20/18 10:55:53                                      Desc
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Simon Aron saron@wrslawyers.com
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Jeffrey W Dulberg jdulberg@pszjlaw.com
Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
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Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
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D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
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lbuchanan@marshackhays.com;8649808420@filings.docketbird.com
Sharon Oh-Kubisch sokubisch@swelawfirm.com,
gcruz@swelawfirm.com;jchung@swelawfirm.com;csheets@swelawfirm.com
Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

SERVED BY UNITED STATES MAIL:
Mt Yohai, LLC
3991 MacArthur Blvd., Suite 125
Newport Beach, CA 92660

Bowery Design and Development
8581 Santa Monica Blvd., #204
West Hollywood, CA 90069




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
